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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

DANESH NOSHIRVAN
an individual,                                   CASE NO:
                                                 2:23-cv-01218-JES-NPM

      Plaintiff,
                                                 JURY TRIAL DEMANDED
vs.

JENNIFER COUTURE, an individual,
RALPH GARRAMONE M.D, an individual,
RALPH GARRAMONE M.D. P.A. d/b/a
GARRAMONE PLASTIC SURGERY.,
CENTRAL PARK OF SOUTHWEST
FLORIDA, LLC, WRAITH, LLC,
SULLIVAN STREET INVESTMENTS, LLC,
HAIRPIN TURN, LLC, OMG REALTY, LLC,
R G WEIGHT MANAGEMENT, LLC,
CENTRAL PARK SOUTH, LLC,
BRANTLEE, LLC, LEGACY OF MARIE
GARRAMONE, LLC, GARRAMONE
MARKETING, INC., 5681 DIVISION LLC,
THE LAW OFFICE OF PATRICK TRAINOR
ESQ, LLC d/b/a THE LAW OFFICE OF
PATRICK TRAINOR, PATRICK TRAINOR,
an individual, and
ANTI-DOXING LEAGUE INC.

     Defendant(s).
__________________________________________________________________

                   FIRST AMENDED COMPLAINT
__________________________________________________________________


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      COMES NOW plaintiff, Danesh Noshirvan a/k/a “@ThatDaneshGuy”

(“Noshirvan”), by and through his attorneys, sue defendants, Jennifer Couture

(“Couture”), Ralph Garramone M.D (“Garramone”), Ralph Garramone M.D.

P.A. D/B/A Garramone Plastic Surgery (“Garramone Plastic Surgery”), Central

Park of Southwest Florida, LLC (“Central Park”), Wraith, LLC (“Wraith”),

Sullivan Street Investments, LLC (“Sullivan St. Invest.”), Hairpin Turn, LLC

(“Hairpin”), Omg Realty, LLC (“OMG Realty”), R G Weight Management, LLC

(“R G Weight”), 5681 Division LLC (“5681 Div.”), Garramone Marketing, Inc.

(“Garramone Marketing”), Legacy Of Marie Garramone, LLC (“Legacy”),

Central Park South, LLC (“CPS”), Brantlee, LLC (“Brantlee”), The Law Office of

Patrick Trainor, Esq., LLC d/b/a The Law Office of Patrick Trainor (“Trainor

Law Firm”), Patrick Trainor (“Trainor”), Anti-Doxing League Inc. (“ADL”)

collectively (“Defendants”), and alleges the following upon personal knowledge

and belief, and investigation of counsel:

                          I. NATURE OF THE ACTION

      1. This is a civil conspiracy and agency action for defamation, tortious

inference, misappropriation of likeness, and intentional infliction of emotional

distress. Noshirvan is an online entertainer and journalist. His work often depicts

bad actors behaving badly on camera and includes satire or political commentary.

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Noshirvan advocates for accountability culture, which unfortunately in some cases,

results in public cancellation. However, Noshirvan also helps the victims of the

bad actors by shedding light on the bad actors’ socially unacceptable actions.

Noshirvan raises money to help the reported-on victims.

      This case arises out of a series of events stemming from January 26, 2022.

On January 26, 2022, Couture was video recorded committing crimes. Shortly

thereafter, Noshirvan reported on Couture’s story, and publicized her wrongdoing.

As a result, online conversations, turned to false accusations, and the hiring of a

social media terrorist under the guise of an “online image manager.”

Understandably, Garramone and Couture were angry about Couture’s newly found

publicity, but mistakenly blamed Noshirvan for the public outcry and ensuing

online negative response to Couture’s actions. Couture never accepted

responsibility for her actions. At some point, Defendants met or were brought

together. This is when Defendants conspired to injure, harm, and destroy

Noshirvan mentally, reputationally, and financially. Defendants’ conspiracy started

with their management of Noshirvan’s online image through rounds or a series of

defamatory campaigns, swatting, false reports to Child Protective Services,

libelous publication of flyers and billboards.




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      Defendants’ conspiracy and overt acts were fueled by their need for

vengeance or retribution. Defendants’ malicious intent may be inferred by their

expressed desire to cause Noshirvan to become homeless, deplatformed, have his

child placed in foster care, and his wife forced to do immoral acts. In other words,

mentally, emotionally, and financially wrecked. Defendants’ series of campaigns

were intentionally designed to inflict severe emotional distress upon Noshirvan.

Defendants’ vindictiveness and follow through go beyond all bounds of decency

and is not acceptable in a civilized community.

                                  II. JURISDCTION

      2.     This Court has subject matter jurisdiction over this case pursuant to

diversity jurisdiction prescribed by 28 U.S.C. § 1332 because the matter in

controversy exceeds the sum or value of $5,000,000.00, exclusive of interest and

costs, and there is complete diversity between the parties.

      3.     The Court has supplemental jurisdiction over Plaintiff’s claims

asserted against Trainor, the Trainor Law Firm, and ADL, in this action pursuant to

28 U.S.C. § 1367(a). Plaintiff’s claims against Trainor, the Trainor Law Firm, and

ADL, are part of the same case or controversy and arise out of the same nucleus of

operative facts.




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                                   III. VENUE

       4.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391 in all or a

substantial part of the events or omissions giving rise to this claim occurred in this

district.

       5.    Venue is also proper in this Court pursuant to 28 U.S.C. § 1391

because Garramone and Couture are U.S. citizens domiciled in this District,

Garramone Entities maintain a principal place of business in this District, and

Trainor intentionally availed himself to Florida through §48.193(1)(a)1, Fla. Stat.

Defendants have sufficient minimum contacts with the State of Florida. Further,

substantial acts or events giving rise to Noshirvan’s claims occurred in this

District.

                                   IV.      PARTIES

   A. Plaintiff, Danesh Noshirvan

       6.    Noshirvan is an Iranian American social media personality publicly

known by his commentary and opinions on politics, civil rights, and current social

issues.

       7.    Beyond simply being a media personality, Noshirvan is a citizen

journalist who creates content geared towards helping disenfranchised minorities

and people who the police refuse to help.
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         8.    Noshirvan reports news stories on social media platforms that do not

initially make the cut for major media outlets. Noshirvan’s reported news often

sheds light on racial prejudice, physical violence, criminal acts, abuse of

government office, and other hot topic issues, which in turn, end up being reported

by major media outlets.

         9.    Noshirvan is an adult media personality and journalist who is sui juris.

         10.   Noshirvan is a U.S. citizen domiciled in Mansfield, Tioga County,

Pennsylvania.

   B. Defendant, Jennifer Couture

         11.   Couture is an adult, who is upon information belief is sui

juris.

         12.   Couture is a U.S. citizen domiciled in Fort Myers, Lee County,

Florida.

         13.   Upon information and belief, Couture currently resides at 3706

Oxford Street, Fort Myers, Florida 33901.

         14.   Couture is a co-owner of 3706 Oxford Street, Fort Myers, Florida

33901.

         15.   Courture is Garramone’s girlfriend and employee of Garramone

Plastic Surgery.

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       16.    Upon information and belief, Couture is not a business owner.

   C. Defendant, Garramone

       17.    Garramone is an adult plastic surgeon, who upon information and

belief is sui juris.

       18.    Garramone is a U.S. citizen domiciled in Fort Myers, Lee County,

Florida.

       19.    Garramone is primary owner of the following entities: Garramone

Plastic Surgery, Central Park, Wraith, Sullivan St. Invest., Hairpin, OMG Realty,

Legacy, Brantlee, R G Weight, Garramone Marketing, CPS, and 5681 Div.,

collectively (“Garramone Entities”).

       20.    Garramone is the sole owner, shareholder, or member of all the

Garramone Entities with the only exceptions being Hairpin, Brantlee, and OMG

Realty, which are owned by Wraith – who is controlled by Garramone.

       21.    The Garramone Entities all operate out of, or maintain their “principal

place of business,” at 12998 S. Cleveland Ave., Fort Myers, Florida.

       22.    Garramone Plastic Surgery’s surgery center is located 12998 S.

Cleveland Ave., Fort Myers, Florida (“Garramone Surgery Ctr.”).

       23.    All Garramone Entities are closely held companies that are intimately




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entangled or intertwined as to simply be an extension of Garramone. The acts

alleged in this Complaint by employees and agents were committed, controlled, or

carried out as a result of Garramone’s direction, instruction, or order – and in

furtherance of the Couture/Garramone Conspiracy.

      24.    Upon information and belief, Garramone currently resides at 3706

Oxford Street, Fort Myers, Florida 33901.

      25.    Garramone is a co-owner of 3706 Oxford Street, Fort Myers, Florida

33901.

      26.    Garramone through his company Central Park owns 6535 Winkler

Rd., Fort Myers, Florida 33919.

      27.    Garramone also owns 1215 Braman Ave., Fort Myers, Florida 33901.

   D. Garramone Entities

      28.    Garramone is the sole managing member of the following “LLC’s”:

5681 Div., R G. Weight, Central Park, Legacy, and Sullivan St.

      29.    Garramone is a U.S. citizen domiciled in Fort Myers, Lee County,

Florida.

      30.    5681 Div., R G. Weight, OMG Realty, Hairpin, Central Park,

Brantlee, Legacy, Sullivan St. are limited liability companies registered in Florida.




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      31.   5681 Div., R G. Weight, OMG Realty, Hairpin, Central Park,

Brantlee, Legacy, and Sullivan St. all maintain their principal place of business in

Fort Myers, Florida at Garramone Surgery Ctr.

      32.   CPS is a limited liability company registered in the State of Florida.

CPS maintains its principal place of business located at 1215 Braman Ave., Fort

Myers, Florida 33901. Garramone is the sole managing member of CPS.

Garramone is a U.S. citizen domiciled in Fort Myers, Florida.

      33.   Garramone Marketing is a for profit corporation incorporated in

Florida. Garramone Marketing maintains its principal place of business in Fort

Myers, Florida at Garramone Surgery Ctr. Garramone is the sole officer, director,

or shareholder of Garramone Marketing.

      34.   Garramone Plastic Surgery is a professional association organized and

existing under the laws of the State of Florida. Garramone Plastic Surgery

maintains its principal place of business in Fort Myers, Florida at Garramone

Surgery Ctr. Garramone is the sole officer, director, or shareholder, of the

professional association, and he U.S. citizen domiciled in Fort Myers, Lee County.

      35.   Wraith is a limited liability company registered in Alaska. Wraith

maintains its principal place of business at 1231 W. Northern Lights Blvd., #911,




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 Anchorage, Alaska 99503. Wraith has two members, Ms. Elizabeth Santos and

 Garramone.

       36.    Ms. Elizabeth Santos is U.S. citizen domiciled in Barnstead, New

 Hampshire and Garramone is a U.S. citizen domiciled in Fort Myers, Lee County.

       37.    Wraith is the sole managing member of OMG Realty, Hairpin,

 Brantlee.

       38.    Wraith is registered to do business in Florida.

    E. Trainor

       39.    Trainor is a lawyer who first became licensed in New Jersey on

 January 08, 2019, and is sui juris.

       40.    Trainor is a U.S. citizen domiciled in Hasbrouck Heights Borough,

 Bergen County, New Jersey 07604.

    F. Trainor Entities

       41.    The Law office of Patrick Trainor Esq., LLC is a domestic limited

 liability company registered in the State of New Jersey. Trainor is the sole member

 and owner of The Law office of Patrick Trainor Esq., LLC. The Trainor Law

 Firm’s place of business is located at 19 Union Ave., Suite 201 Rutherford, New

 Jersey 07070.




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       42.    The Anti-Doxing League, Inc. is a domestic non-profit corporation

 incorporated in the State of New Jersey. Trainor is the sole incorporator and trustee

 board member. The Anti-Doxing League, Inc. maintains its place of business at 19

 Union Ave., Suite 201 Rutherford, New Jersey 07070.

       43.     The Law office of Patrick Trainor Esq., LLC and The Anti-Doxing

 League, Inc. are collectively referred to as the “Trainor Entities.”

       44.    All Trainor Entities are closely held companies that are intimately

 entangled or intertwined as to simply be an extension of Trainor. The acts alleged

 in this Complaint by Trainor Entities’ employees and agents were committed,

 controlled, or carried out as a result of Trainor’s direction, instruction, or order.

       45.    Trainor and the Trainor Entities purposely availed themselves to

 Florida’s jurisdiction by operating or having operated, active websites and social

 media accounts directed at contacting or recruiting persons residing or domiciled in

 Florida during the time frame alleged in the Complaint.

       46.    Complete diversity jurisdiction exists because no Defendant is a

 domiciled citizen of Pennsylvania and the amount in controversy exceeds

 $5,000,000.00 dollars.




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                              V. FACTUAL ALLEGATIONS

      A. BACKGROUND

          a. The Parties and Known Co-Conspirators

                i.   Couture behaving badly

          47.    Couture constantly disregards the rights of people whom she deems

 beneath her “social status.” Couture has on more than one occasion disregarded the

 rights of others who she deemed beneath her. 1

          48.    Upon information and belief, Couture was a client of Garramone

 Plastic Surgery, who then became Garramone’s girlfriend and an employee of one

 or more of the Garramone Entities.

          49.    During the height of the Covid-19 pandemic, employees who worked

 for Garramone Plastic Surgery were concerned about coming into the office for

 obvious health reasons. Upon information and belief, Garramone with the help of

 Couture - fired those employees via social media - as depicted in the following

 picture:




 1
     See Lee Cty. Case Numbers: 22-CO-005490 and 22-CO-005496.
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        50.    As a result of Couture and Garramone’s insensitive action, members

 of Fort Myers and the social media community held animus feelings towards them

 for nearly two years prior to the January 26, 2022, altercation. Further, the public

 posting shows that their “relationship” was known prior to January 26, 2022.

        51.    On January 26, 2022, Couture got into an altercation with a young

 woman in a Dunkin Donuts parking lot. That altercation was video recorded. 2

        52.    The altercation between Couture and the young woman escalated

 quickly, and what started out as a verbal argument soon became a one-sided

 violent and verbal attack solely maintained by Couture. (See fn. 3)

        53.    During the altercation, Couture physically entered the young woman’s

 motor vehicle through the driver side window and began to grab the young woman

 2
  This is link to the video where Couture committed battery, burglary, and aggravated assault
 with a weapon on a young woman. https://www.youtube.com/watch?v=OdP9tP_5x8Q
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 sitting in the driver-side seat of the vehicle. Couture then attempted to steal the

 young woman’s cellphone. Couture then verbally mocked the young woman. In

 response, the young woman verbally responded to Couture’s extreme and

 outrageous actions. Couture in a psychoneurotic state, entered her own motor

 vehicle, threw the vehicle in reverse, and attempted to crash into the young woman

 who exited her vehicle to video record Couture’s license plate. (See Fn. 3)

       54.    After the altercation, detective Ryan Justham, of the Lee County

 Sheriff’s Office executed an affidavit for arrest warrant.

       55.    Detective Ryan Justham specifically found that: (1) Couture entered

 the young woman’s occupied vehicle with intent to commit battery upon the

 young woman. (Id.); (2) Couture actions demonstrated an “intentional unlawful

 threat” “to do violence to the [young woman]” while having the apparent ability to

 do so. (Id.); and (3) that “Couture actually and intentionally grabbed the [young

 woman’s] wrists against her will.” (Id.)

       56.    A felony arrest warrant was issued for Couture on or about February

 16, 2022 - under warrant number 22CF000256.

       57.    On February 20, 2022, at 10:30 p.m., Couture was arrested for: (1)

 burglary of an occupied conveyance in violation of F.S. 810.02(3)(d); (2) battery in

 violation of F.S. 784.03(1)(a)1.; and (3) aggravated assault with a deadly weapon

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 without intent to kill in violation of F.S. 784.021(1)(a). Couture’s Lee County

 mugshot following the arrest and a picture of the video recorded altercation is

 below:




        58.    Upon information and belief, Couture made a plea deal with the

 prosecutor and only was required to plead guilty to first-degree trespass, second-

 degree assault, and first-degree battery. 3 All three charges were reduced to

 misdemeanors.

        59.   As part of a plea agreement, the court withheld imposition of a

 sentence, and Couture was placed on twelve months of probation for Count 1

 Trespass, six months of probation for Count 2 Assault and twelve months of

 probation for Count 3 Battery. Counts 1 and 2 ran concurrently with each other and

 consecutively to Count 3 for a total of two years of supervision.

 3 Couture had Lee Cty., Case Number 22-CF-000256 sealed as “confidential.”

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       60.    During the probation period, Couture was ordered to have “no contact

 with her victim,” attend “anger management,” pay a “domestic violence

 surcharge,” “restitution,” and “submit to a Mental Health evaluation.”

       61.    Couture’s criminal actions and mental health status are a matter of

 public concern as her actions endanger the health, safety, and welfare of the Lee

 County community.

       62.    Publication of Couture’s public criminal activities are protected by the

 U.S. Constitution and Florida State Constitution.

             i.   The felon, Joseph A. Camp, a “for-hire” Social Media
                  Terrorist

       63.    Joseph A. Camp (“Camp”) is a 39-year-old convicted felon. Camp

 utilizes several pictures of his face on his social media accounts - pictures

 depicting him in various stages of his life. Here are a few:




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        64.     Camp goes by the following aliases or “handles” on the internet:

 “@CampJosephA,”            “@Joeycamp2020”,           “@daneshfiles”,        “reportingepik” 4,

 “yourdaddyjoey” “TheResearcher2020”, “norshivan@yandex.com”,“Jojo,” and

 “CEO at J Square Presents.”

        65.     Camp’s publicly listed phone number is (720) 454-5240. 5 The

 photograph below was retrieved directly from Camp’s verified Facebook account:




        66.     Camp is a former student of the University of Central Missouri, who

 on April 12, 2013, plead guilty in the “Western District of Missouri” to “unlawful

 computer hacking scheme at UCM from March 2009 to March 2010.” 6

 4
   https://www.washingtonpost.com/technology/2021/09/25/epik-hack-fallout/
 5
  N.B. Camp’s telephone number operates as a personal identifier in the pictures posted later in
 this Complaint.
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        67.    As part of the UCM computer hacking scheme, Camp conspired with

 another person to “gain unlawful and unauthorized access to the UCM computer

 network.” Once their virus infected UCM’s computers – databases containing

 faculty, staff, alumni, and student information, and money were stolen. Camp also

 utilized remote access to a UCM administrator’s computer to remotely turn on the

 webcam to watch and photograph the administrator. Camp was sentenced to three

 years in federal prison without parole and ordered to pay $61,500 in restitution for

 his role in the UCM computer hacking conspiracy.

        68.    Camp is a “far-right internet troll and convicted hacker” “whose name

 was listed on domain registrations with Epik and who has claimed publicly to have

 done freelance work.” (See Fn. 5)

        69.    Camp’s “freelance work” consists of           payment to Camp and in

 exchange Camp will troll, harass, and defame, the “paid-for” target on social

 media. In short, Camp is a “for-hire” social media troll, harasser, maligner, and

 defamer, who freelances his service to the highest bidder.

        70.    Camp’s “for-hire” services goes well beyond social media trolling,

 doxing, and dissemination of public information. Camp services include real life




 6
  https://www.justice.gov/usao-wdmo/pr/former-student-sentenced-computer-hacking-university-
 central-missouri
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 and in person harassment, defamation, swatting, intimidation, and at least, in one

 instance, a bomb threat towards a target.

          71.     Upon information and belief, Camp has ties to Lee County, Florida,

 and in 2014 had an arrest warrant issued for making bomb threats to a person who

 at the time was a Judge. 7 See pictures below:




          72.     Camp routinely and intentionally makes false defamatory statements

 on social media - both per se and by implication, about his target - to scare, silence,

 or to destroy his “paid-for” target’s reputation.

 7
     The arrest warrant appears to have been revoked after the judge/complainant passed away.
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           73.    Camp intentionally tortiously interferes with his “paid-for” target’s

 known business and personal relationships.

           74.    On several occasions, Camp has knowingly contacted his “paid-for”

 targets, their families, friends, distant relatives, and other people close to the

 target.

           75.    On several occasions, Camp has knowingly contacted his “paid-for”

 the target’s place of employment, business, business partners or relationships, and

 government licensing office, via telephone or email            for the sole purpose of

 destroying the target-victim’s reputation and inflicting severe emotional distress

 and mental anguish. 8

           76.    Upon information and belief, Camp was forced, or chose, to flee the

 United States in mid to late 2022 because of his “for-hire” services.

           77.    Upon information and belief, Camp fled to Belize in or after July of

 2022. Camp also expressly claims to change his identity and maintain multiple

 passports as pictured below:




 8
     https://www.instagram.com/p/CyMbWcqiZhE/
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                                                                           9

          78.     Camp self-professes, via social media, that he regularly moves

 between Yucatan peninsula countries in avoidance of some unstated “prosecution.”

 The following pictures depict Camp’s GiveSendGo campaign wherein he claims to

 be in “exile” for several reasons:




 9
     In figure labeled Fn. 11, Camp admits to having a second passport.
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        79.    Camp is best described as a “for-hire” social media terrorist. 10 Camp

 is easily identifiable because, as Camp writes: “[b]ehind every troll I do, is my real

 name.” Camp also alludes that he cannot be connected to an allegedly anonymous

 Yandex email accounts that send out malicious, mean, and threatening, emails:




        80.    Camp expressly admitted to utilizing his real name in every internet or

 social media “troll” he does, “Yandex” domains, and claims ownership of the

 “Daneshfiles.” Camp’s statements above imply that he created the “Daneshfiles”

 and Norshirvan is his current “paid-for” target.
 10
    Allegedly unreleased January 6th insurrection videos -posted by Joseph A. Camp on Rumble.
 https://rumble.com/c/JoeyCamp2020
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       81.    Camp also maintains multiple social media accounts on underground

 or alternative economy websites that pander to “supremacists,” “proud boys,” and

 nazi sympathizers. Upon information and belief, Camp met Trainor through these

 underground or alternative economy websites and social media applications.

             i. Trainor, the Trainor Law Firm, and the ADL

       82.    Trainor obtained his New Jersey law license on January 08, 2019.

       83.    On July 17, 2019, the Trainor Law Firm was formed in the State of

New Jersey. The Trainor Law Firm received a certificate number: 0450400058.

       84.    Upon information and belief, Trainor and the Trainor Law Firm

marketed to, and represented, “supremacists,” “proud boys,” and nazi sympathizers.

       85.    Upon information and belief, Trainor met Camp while marketing on

underground or alternative economy websites and social media applications.

       86.    On September 21, 2020, Trainor filed a RICO action in New Jersey

federal court. See D'ambly v. Exoo, 2:20-cv-12880, (D.N.J.). In D’ambly, Trainor

alleged his client was labeled as “fascist” or “supremacist” by defendant Evoo, who

Trainor labeled an “anti-fascist” “Antifa leader.” The D’ambly case was/is a reverse

racial discrimination case.

       87.    D’ambly is the first known instance where Camp interfered with an

ongoing federal litigation. Upon information and belief, Trainor and Camp were

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working together to force a settlement by means of extortion, intimidation, threat,

and harassment. The plan involved Camp contacting several attorneys representing

defendants in D’ambly through telephone or electronic communications, and

threatening, harassing, intimidating, or extorting them in effort to get the defense

lawyers to withdraw from the case. This is Camp’s modus operandi - threaten,

harass, intimidate, and extort, the perceived enemy until they retreat.

           88.   After D’ambly was in suit and moving along, Camp reached out to an

individual to recruit that person to help find a new plaintiff in the New Jersey area –

for Trainor’s next case. During recruitment, the undisclosed person obtained

recorded conversations and text messages implicating Camp and Trainor as co-

conspirators in the Couture/Garramone conspiracy. Those same recordings show

that Camp and Trainor discussed private third-party conversations amongst

themselves – in furtherance of the conspiracy. However, this undisclosed person

never joined because Camp was informed by Trainor that this person “was under

investigation.” Here are text messages from Trainor and Camp to the undisclosed

recruit:




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                                                                                            11




 11
    In these text message, Camp refers to “we”, which implies a group of co-conspirators. Trainor
 states “these images you just sent and the voice message you just left look and sound like
 something a snitch would do. You know, nobody likes a snitch… just don’t snitch.”
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         89.      In May of 2022, the ADL was formed by Trainor. Upon information

 and belief, the ADL created, or had others create social media profiles/accounts for

 the sole purpose of contacting bad actors who had been publicly outed as part of

 Noshirvan’s investigative journalism and satire entertainment broadcasts.

         90.      Additionally, Trainor through the ADL marketed to “supremacists,”

 “proud boys,” and nazi sympathizers through underground media outlets like

 “MurdertheMedia 12,” “Full Haus 13,” “Proud Boys MDC” and “Coach Finstock.14”

 For example:




 12
    https://t.me/MurderTheMedia/16929
 https://t.me/s/MurderTheMedia?q=patrick+trainor
 https://t.me/MurderTheMedia/16985
 https://t.me/MurderTheMedia/16986
 https://t.me/MurderTheMedia/17022
 https://t.me/MurderTheMedia/17023
 https://t.me/MurderTheMedia/17024
 13
    https://www.full-haus.com/index.php/2022/05/27/latest-show-support-the-adl/
 https://t.me/prowhitefam2/1772
 https://t.me/prowhitefam2/1786
 14
    https://www.splcenter.org/hatewatch/2020/01/30/white-nationalist-state-department-official-still-a
 ctive-hate-movement
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       91.    Upon information and belief, Trainor, the ADL, and Camp, utilize

these underground nationalist platforms to gain access to digital nationalist

networks to recruit co-conspirators to participate in the “Couture/Garramone

conspiracy” against Noshirvan, an Iranian American, outlined in detail below.

             i. Noshirvan The Journalist And Satire Entertainer

       92.    Noshirvan is an Iranian American who started making videos on

 Tiktok in 2020 - to provide for his family - because he lost his job due to the

 pandemic and government shutdown.

       93.    Noshirvan is best portrayed as a new age shock jock, journalist, and

 social media entertainer. His news content focuses on bad actors behaving badly in

 public. Noshirvan entertains his audience with commentary, the consequences

 song, or other funny noises.

       94.    Noshirvan adopted the phrase “accountability culture.” Accountability

 culture is best described by Martin Luther King: “darkness cannot drive out

 darkness; only light can to that” or Marianne Williamson: “once the light of our

 awareness is cast on darkness, then darkness cannot hide, and it cannot remain.”

 Put simply, Noshirvan’s news reporting attempts to bring public awareness to

 social issues many disenfranchised American citizens face.




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       95.    Noshirvan does not advocate for online, or in person, harassment, or

 violence of any of the “bad actors” in his news stories, nor has Noshirvan ever

 directed his viewers to      “go after” any of the “bad actors.” Rather, in some

 instances, his followers/viewers do online research and provide public information

 about the bad actors – “tips.” Those tips or research may be utilized in a follow-up

 news story. For example, in this case, Garramone’s and Couture’s relatives

 confirmed that Camp was residing at Garramone’s property owned by CPS at 6535

 Winkler Rd, Fort Myers, FL 33919.

       96.    Garramone’s and Couture’s relatives confirmed the link between

 Camp, Garramone and Couture – after the Couture/Garramone Conspiracy started

 taking place, i.e, credible threats of danger, defamation, harassment, and

 interference with Noshirvan’s business relationships.

       97.    Noshirvan quickly became a social media personality publicly known

 for his ability to find and identify “bad actors,’ and his commentary on politics,

 civil rights, and current social issues.

       98.    Noshirvan is a citizen journalist who reports on issues geared towards

 helping disenfranchised minorities and people who the police refuse to help. He

 adds commentary and satire to entertain during his news reports - similar to “Last

 Week Tonight’s” host - John Oliver.

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        99.     Noshirvan’s news reports only disclose identifiable public information

 about the bad actor who was behaving badly. And, in several instances, his

 disclosure of readily available public information identifying the wrongdoer has

 lead to the wrongdoer’s arrests by the authorities.15

        100. Noshirvan often reports news stories on his social media platforms

 that major media outlets overlook. Noshirvan’s news reports have shed light on

 discrimination, prejudice, physical violence, various criminal acts, and abuse by

 government officials - some of which have been picked up by major media news

 outlets.

        101. Noshirvan covers each story he presents free of charge. Noshirvan has

 never collected money to publish a news story. Instead, Noshirvan uses his

 platform to raise money and awareness for the victims in his news stories, for

 charities, and other social, and political causes.

              i. The Making of the Couture/Garramone Conspiracy

        102. Upon information and belief, Garramone and Couture were angry

about the public exposure they received from Noshirvan’s reporting of Couture’s

criminal acts that occurred on January 26, 2022.



 15
   https://www.tiktok.com/@thatdaneshguy/video/7285757284632775966?lang=en
 https://www.tiktok.com/t/ZT8uRpUAy/
 https://www.tiktok.com/t/ZT8u8ANNw/
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       103. Upon information and belief, Camp connected with Garramone and

Couture through social media applications sometime between February of 2022

through April of 2022. Camp then connected Garramone and Couture with Trainor,

and the Trainor Law Firm.

       104. Upon information and belief, Trainor, the ADL, or Camp, created or

had created, an account named “Victims of That Danesh Guy” on various platforms

in May/June of 2022, for the purpose of contacting people who had been publicly

outed as part of Noshirvan’s investigative journalism and satire entertainment

broadcasts.




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       105.   Upon information and belief, Trainor, the ADL, and Camp, utilize

 these social media platforms to recruit other wrongdoers who did not take

 accountability, but rather pretended to be a ‘victim,” - as co-conspirators to

 participate in the “Couture/Garramone conspiracy” against Noshirvan.

       106. Couture and Garramone through Garramone Plastic Surgery’s account

joined “Victims of That Danesh Guy” (on “Twitter” now “X”) and “Victims of

Danesh” (on “Instagram”) sometime after May of 2022. Garramone Plastic Surgery

and Victims of That Danesh Guy follow each other, and Garramone Plastic Surgery

follows Camp:




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         107. Camp follows Garramone Plastic Surgery and Roof Korean 7. Roof

 Korean 7 is the profile pictured directly above Garramone Plastic Surgery. See

 photograph below and compare with ¶71, photograph 1 (Roof Korean 7).




         108. In May of 2022, Couture and Garramone allowed Camp to live at

 6535 Winkler Rd, Fort Myers, FL 33919 (“CPS/Garramone Property”). This is

 Garramone’s property owned by CPS. 16 Here are photographs of Camp physically

 on the CPS/Garramone Property:




 16
   6535 Winkler Rd, Fort Myers, FL 33919 was originally painted in yellow when Garramone and CPS purchased the
 property on November 15, 2021. See https://www.zillow.com/homedetails/6535-Winkler-Rd-Fort-Myers-FL-
 33919/295068155_zpid/? However, by May of 2022, Garramone and CPS had painted the house white. See
 https://www.leepa.org/Display/DisplayParcel.aspx?FolioID=10208565&AllPhotos=true&SalesDetails=True#SalesDe
 tails
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       109. First, the door behind Camp contains an angled “wear and tear” mark

 directly above the door handle. The photograph of CPS/Garramone Property

 without Camp has the exact same wear and tear pattern above the door handle.

 Secondly, the ornamental metal rods covering the glass in the door is the same in

 both pictures.

       110. In the pictures below, Camp, while on CPS/Garramone Property, self-

 professes to be “visiting [his] boss’s estate.” The implication of this statement is

 that Garramone and CPS are Camp’s employers, Camp is Garramone and CPS

 agent, or at a minimum, co-conspirators.




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          111. In the picture on the left above, Camp is petting one of

 CPS/Garamone’s horses. The picture on the right above was taken prior to

 Garramone/CPS’s purchase of the property. The floor patterns in both pictures are

 the same. The shape of windows and ceiling fans are the same. The brass knobs,

 wood planks, and iron rods are the same. The wood ceiling is the same. The only

 difference is that the barn had been painted white to match the house.

          112. In May of 2022, Camp, while living at the Garramone/CPS Property

 made a video defaming Noshirvan by calling him a “child predator,” inciting

 public     outrage   through   use   of   false      statements,   and   directing   the

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 Couture/Garramone co-conspirators to contact Tioga County Department of Child

 Protective Services (“Child Protective Services”). In the picture below, Camp

 expressly directs co-conspirators to “report Noshirvan for child abuse and

 neglect.”17




 17
      A copy of the video will be provided to the Court via jump drive.
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           113. Camp is pictured above sitting at the kitchen island in the

 Garramone/CPS Property. His camera is pointed at the ceiling to conceal his

 location. However, the bottom two pictures are the Garramone/CPS Property.18

 The air vent and smoke detector placement are the same. And the black painted

 door hinges are the same.




 18
      https://www.zillow.com/homedetails/6535-Winkler-Rd-Fort-Myers-FL-33919/295068155_zpid/?mmlb=g,14
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       114. The Garramone/CPS Property has an inground pool as pictured

 below:




       115. Around May 20, 2022, while Couture and Garramone were in

 Pennsylvania for a graduation ceremony, Camp broadcasted a video while sitting

 in the pool located at the Garramone/CPS Property. The pool is readily identifiable

 because of its ornate roman edges and the surrounding iron fence.

       116. Camp’s ties to Garramone and Couture were confirmed by several

 witnesses who personally know Garramone and Couture.

       117.   Camp’s ties to Garramone and Couture were confirmed by

 Garramone’s and Couture’s relatives.




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       118. In photograph above of Camp’s live stream video, Camp is being

 directed by Robert Colbert, owner of Shing TV, an alternative underground

 broadcasting platform. In this live stream video, Camp explains that he is working

 in concert with several other individuals with the sole purpose of destroying

 Noshirvan’s reputation and placing him in financial ruin - essentially destroying

 Noshirvan’s life. Camp further elaborates on the “Plan” or conspiracy: (1) having

 co-conspirators go through Noshirvan’s trash; (2) hacking Noshirvan’s digital

 accounts and possibly WIFI, (3) the different stages of the conspiracy (referred to

 as “rounds” the first round is advertising, the second round is labeling Noshirvan

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 as predator, etc.); (4) the financier and funding he has received to carry out his part

 of the conspiracy; (5) the distribution of thousands of defamatory flyers posted

 near Noshirvan’s hometown in less than 24 hours; (6) the billboards containing

 Noshirvan’s face and ThatDaneshGuy’s likeness, that were placed in Noshirvan’s

 hometown; (7) the mass email sent to almost every business near Noshirvan’s

 hometown containing or implying false statements, placing defamatory ads in

 Penny Savers; (8) published a television advertisement on FOX News; and (9)

 falsely alleging to be in Pennsylvania to cover for Couture and Garramone – who

 were actually in Pennsylvania on May 20, 2022.

       119. On May 04, 2022, Camp was at Frenchy’s Rockaway Grill in

 Clearwater, Florida for the Florida Governor’s speech. Camp depicted below:19




 19
   See for date confirmation:
 https://www.facebook.com/watch/live/?ref=watch_permalink&v=276292907956016
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       120. Upon information and belief, on or about May 20, 2022, Garramone

 and Couture traveled from Fort Myers, Florida to Bucknell University for the

 graduation of Ralph R. Garramone, III – Garramone’s child. Bucknell University is

 in Lewisburg, Pennsylvania – a 1 hour and 15-minute drive from Noshirvan’s

 hometown. The picture depicts Bucknell University’s May 22, 2022, graduation

 ceremony:




       121. Between May 20, 2022 and May 22, 2022, Garramone is filmed in a

 local butcher shop in Noshirvan’s hometown. The same butcher shop the

 Couture/Garramone conspirators erroneously believed to be owned by Noshirvan’s

 in-laws. Garramone is pictured below:




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        122. Upon information and belief, Couture is pictured wearing a black wig

 in the picture on the right and standing next to Garramone. In the video, Couture

 and Garramone check out and leave together.20

        123. Camp falsely claimed on social media that he left defamatory flyers of

 Noshirvan and his wife in the restroom of this butcher shop.




 20
    If this wigged woman is in fact Couture, then she would have likely violated her probation by
 traveling out of state to publish defamatory flyers of Noshirvan.
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       124. Upon information and belief, Camp’s false statement as addressed in

 ¶123 above, were made to protect Couture and Garramone from their actions of

 posting defamatory flyers in Noshirvan’s hometown and in the mistaken local

 butcher shop.

       125. In the second photograph above, Camp states “we recorded every

 interaction in Pennsylvania.” “We hit over a 1,000 community bulletin boards in

 48 hours.” Wait for round 3 of at least 50 punk.” Noticeably, Camp in most of his

 social media posts discussing the Couture/Garramone Conspiracy utilizes the term

 “we,” which is indicative of a multi-person conspiracy – and possible illegal

 recordings. Camp’s threats of danger are credible.


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       126. Couture’s and Garramone’s relatives confirmed that during the

 graduation weekend Couture and Garramone went missing for several hours – and

 almost missed the entire graduation. Upon information and belief, Couture and

 Garramone placed the defamatory flyers in Noshirvan’s hometown in furtherance

 of the Couture/Garramone Conspiracy - while Camp stayed at the CPS/Garramone

 Property and broadcasted videos in furtherance of the conspiracy.

       127.    In the video below, Camp again attempts to cover for Garramone and

 Couture by claiming to have been one of the co-conspirators to travel to

 Noshirvan’s hometown and distribute the defamatory flyers. Camp further informs

 co-conspirators that his phone number is safe because Verizon refused to comply

 with a subpoena, and thereafter he moved the account to local carrier.




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       128. On May 20, 2022, the following image was published in Noshirvan’s

 hometown’s Penny Saver:




       129. Around the same time the Penny Saver advertisement went live, a

 billboard appeared in Noshirvan’s community. These advertisements contained

 both Noshirvan’s face and an image of ThatDaneshGuy with the words “doxing is

 violent.” These advertisements falsely imply that Noshirvan condones, advocates,

 or takes part in, “harmful or destructive physical force” directed at a person.

 Further, the advertisement improperly, and in contravention of law, utilizes

 ThatDaneshGuy’s likeness for commercial purposes without consent.

       130. Trainor and the Trainor Entities received money from unnamed

 donors (co-conspirators) – for the purpose of purchasing billboards – and

 purchased the billboard pictured above. Further, Trainor discussed the ADL with


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 Coach Finstock and admitted that the ADL will “dox the doxers” and “people

 funding the doxers” by “placing their face on a billboard.” 21

        131. Trainor or the Trainor Entities purchased or leased the billboards and

 caused Noshirvan’s face and ThatDaneshGuy’s likeness to be placed on several

 billboards. These actions were in furtherance of the Couture/Garramone

 Conspiracy.

        132. The defamatory flyers Defendants placed in, and around, Noshirvan’s

 hometown falsely referred to Noshirvan has a “predator.” In third picture below,

 Camp using the handle “daneshfiles” admits to buying commercials, billboards,

 and full-page advertisements containing a Trainor, or Trainor Entity, owned

 telephone number (732-723-4007), which was directed at defaming Noshirvan. 22 In

 the fourth picture below, Camp requested on social media for co-conspirators to

 send the defamatory flyers to news outlets.




 21
    This is the public audio broadcast of that conversation. https://soundcloud.com/user-
 37760469/patrickdiscussesbizarroadlpurp (see 2:20 - 3:30 minutes in audio)
 22
    This phone number was active as of December 15, 2023, and directed to Trainor and the
 Trainor Entities. An audio recording is included on the previously mentioned jump drive.
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       133. Camp in furtherance of the conspiracy intentionally interfered with

 Noshirvan’s business by submitting false or fake reports and complaints to known

 social media platforms for the purpose of deplatforming Noshirvan.

       134.   Defendants caused a defamatory website about Noshirvan to be built

 and published. The website’s domain is www.thatdaneshguy.com. However, at

 some point, the domain was redirected to Court Listener (Couture v. Noshirvan

 (2:23-cv-00340).

       135. Couture actively promoted the domain: www.thatdaneshguy.com, and

 promoted and published advertisements containing Noshirvan’s face and

 ThatDaneshGuy’s likeness in furtherance of the conspiracy. Furthermore, when the

 post below was taken, Couture’s GPS on her cellphone indicated that she was in

 Pennsylvania.

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       136. Rather than admit her wrongdoing on January 26, 2022, Couture

 doubled down and falsely accused Noshirvan of “stalking, sextortion, and

 blackmail” and then posted her claim of false allegations on social media. Couture

 continued her false narrative by alleging publicly that Noshirvan has a “sexual

 fantasy” about her, which is not true. Couture played the #metoo card to defame

 Noshirvan by implication and create a false narrative for her social media platform.

 Couture falsely accused Noshirvan as being a “revenge pornographer.” Lastly,

 Couture bragged about tortiously interfering with social media platforms to have

 Noshirvan deplatformed and defunded. See Picture 3, above.




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       137. Camp and other co-conspirators sent hundreds of threatening text

 messages to Noshirvan in furtherance of the conspiracy. The pictures below are

 representative of Camp’s actions:




       138. In the first photograph in paragraph 136, Camp admits to paying

 Trainor “to go after [Noshirvan] and everyone [he] got information from.” Camp’s

 statements are indicative of malicious intent, malicious prosecution, or an abuse of

 process. Garramone, Couture, and Trainor’s actions in case number 2:23-cv-

 00340-SPC-KCD confirm same by serving overly broad irrelevant discovery aim


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 at obtaining personal information from anyone who provided information about the

 Couture/Garramone Conspiracy or donated to support Noshirvan’s news media.

       139. In the second photograph in paragraph 136, Camp refers to Trainor as

 the “top RICO attorney in the nation.” Camp further admits that telephone number

 (732-723-4007) on the Penny Saver and billboards belongs to Trainor or the

 Trainor Entities. The telephone number (732-723-4007) on the Penny Saver and

 billboards belongs to Trainor or the Trainor Law Firm.

       140. In the second photograph above, Camp states “we want you homeless,

 deplatformed, your kid in foster care, your wife f**k**g n****rs for crack and

 more.” Camp’s statements here, and throughout this Complaint, are indicative of

 Defendants malicious intentions regarding the Couture/Garramone Conspiracy.

       141. Camp published hundreds of social media posts in furtherance of the

 conspiracy. Most of which discuss steps taken towards the conspiracy’s purpose –

 reputational and financial destruction, injury, and harm, of Noshirvan and his

 family. In furtherance of the Couture/Garramone Conspiracy, Defendants

 intentionally inflicted severe emotional distress on Noshirvan to effectuate the

 Couture/Garramone Conspiracy’s purpose.




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       142. In the second photograph above, Camp explains that the Couture/

 Garramone Conspiracy is about “taking down [Noshirvan], online and teaching

 him a valuable lesson in matching vibes.” Camp further explains “[d]oes it stop

 there? Nope, this is going to be a sustained operation that will continue until he is

 a broken human skeleton of the person he is. Until his kid is placed in foster

 care….” Defendants’ conduct goes beyond all bounds of decency and ought to be

 regarded as odious and utterly intolerable in a civilized community.

       143. Defendants created a false narrative and spread defamatory statements

 throughout the internet and in real life. For example, Defendants consistently but
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 falsely allege that Noshirvan (1) is a “child groomer”, (2) sexual “predator”, (3)

 “pedophile”, “cyberbully”, “stalker”, sextortionist”, “blackmailer”, and that he

 “rapes his own child” and “caused a 14-year-old to commit suicide.” The

 implication of these statements incites hatred throughout the social media

 community. As a result of Defendants patently false statements, Noshirvan and his

 family, have suffered from mental anguish, emotional distress, pecuniary loss,

 harm to reputation, damaged business relationships,                lost standing within his

 community, sustained personal and familial humiliation, and endured pain and

 suffering.

        144. Defendants intentionally targeted Noshirvan’s wife and child to inflict

 extreme emotional distress upon Noshirvan.

        145. Defendants had Noshirvan and his family “swatted.” 23 Defendants

 also sent Noshirvan pictures of himself and child at his home, implying

 Noshirvan’s family were in danger. This picture is indicative of a credible threat of

 harm and was sent to Noshirvan within minutes of its depiction.




 23
   Swatting is the action of making a false report of a serious emergency so that a SWAT team
 will go to a person's home, by someone who wants to frighten, upset, or cause problems for that
 person.
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       146. Garramone himself, in his personal Twitter profile, lead “the call to

 action” in furtherance of the Couture/Garramone Conspiracy. In the picture

 directly below, a co-conspirator       a/k/a “feudjunkie” states “FAFO” or “F**k

 around and find out.” Garramone in response, makes a rally speech to gather.

 Specifically, Garramone states “[d]otting all of the i’s and crossing off the t’s now.

 It is time for all his (referring to Noshirvan) victims to gather.”




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       147. Defendants had knowledge of, and agreed to participate, in a

 concerted effort to destroy Noshirvan and his family financially, reputationally,

 and to defame, deplatform, and terrorize Noshirvan by attempting to detract his

 child from his custody - as payback for making the initial Couture video.

       148. Camp is an employee, agent, and co-conspirator of Garramone and the

 Garramone Entities. See ¶¶105-117, supra.

       149. A substantial portion of the Couture/Garramone Conspiracy took

 place at the Garramone Surgery Center by employees, agents, and co-conspirators,

 of the Couture/Garramone Conspiracy – including Couture and Garramone.

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       150. A substantial portion of the Couture/Garramone Conspiracy took

 place at the Garramone/CPS Property (Winkler Rd.) by employees, agents, and co-

 conspirators, of the Couture/Garramone Conspiracy – including Couture,

 Garramone and Camp. See ¶¶105-117, supra.

       151. Camp communicates to Garramone, Couture, Trainor, and other co-

 conspirators through social media applications like Gab.com. Defendants and

 unnamed co-conspirators make payments to Camp for his services through

 GiveSendGo. In the picture below, Camp stealthily communicates to Defendants

 that it is safe to continue paying him. For example, Camp explains that Trainor

 can execute his affidavit, and Camp “will deny everything in a sworn affidavit.”

 Camp goes on to explain that payments through GiveSendGo and mailed letters are

 allegedly untraceable. Camp prompts payments from other Defendants by

 classifying it as “operational expenses.” Finally, Camp reassures the other

 Defendants that “no one is going to get into trouble.”




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       152. On Tuesday, December 19, 2023, notice of intent to file a lawsuit was

 provided to all Defendants. Camp is not a named defendant and was not provided a

 copy. Despite this fact, on December 21, 2023, Camp had already received a copy

 and started posting publicly. The Pictures below depict Camp’s Gab.com posts:




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                             VI.   CAUSES OF ACTION

                              FIRST CAUSE OF ACTION

                   CIVIL CONSPIRACY TO TORTIOUSLY
            INTERFERENCE WITH A PARENT-CHILD RELATIONSHIP
                           (as to all Defendants)

       153. Noshirvan re-adopts and re-alleges paragraphs one (1) through one

 hundred and fifty-two (152) above, as if fully stated herein, and further alleges as

 follows:

       154. Noshirvan and his wife are the natural parents of their child.

 Noshirvan and his wife always had sole legal custody of their child.

       155. Defendants along with unnamed conspirators, had direct knowledge

 of, and agreed to participate in the Couture/Garramone Conspiracy.
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        156. As part of the Couture/Garramone Conspiracy, Defendants and

 unnamed conspirators, agreed to, and tortiously interfered with Noshirvan’s

 parental rights by intentionally making false claims of child abuse to Child

 Protective Services on three separate occasions. As a result, Noshirvan and family

 underwent investigation by Child Protective Services on three separate occasions.

 Noshirvan and family were cleared of the false allegations and found to be fit

 parents.

        157. As part of the Couture/Garramone Conspiracy, Defendants, and

 unnamed conspirators, tortiously interfered with Noshirvan’s parental rights by

 contacting or passing out flyers at a school that falsely allege that Noshirvan was a

 child rapist.

        158. Defendants abused the process when they purposefully conspired with

 a stated goal of getting Noshirvan’s “child placed in foster care” and followed

 through by making false reports – on three separate occasions. See ¶¶141-144.

        159. Defendants knew that their claims of child abuse and rape were

 patently false, but willfully made those allegations to improperly remove

 Noshirvan’s child from his custody and cause Noshirvan harm.




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       160. As a direct and proximate result of Defendants concerted effort to

 remove Noshirvan’s child from him by improper means, Noshirvan suffered from

 mental anguish, emotional distress, reputational harm, and other damages.

       161. Defendants acted maliciously, wantonly, or with a recklessness

 suggestive of an improper motive or vindictiveness, to warrant the imposition of

 punitive damages as allowed by Florida law.

                             SECOND CAUSE OF ACTION

                   CIVIL CONSPIRACY TO TORTIOUSLY
              INTERFERENCE WITH A BUSINESS RELATIONSHIP
                           (as to all Defendants)

       162. Noshirvan re-adopts and re-alleges paragraphs one (1) through one

 hundred and fifty-two (152) above, as if fully stated herein, and further alleges as

 follows:

       163. Noshirvan had monetized business relationships with “buymecoffee,”

 “Twitter,” “TikTok,” “Patreon” and other social media platforms.

       164. Defendants along with unnamed conspirators, had direct knowledge

 of Noshirvan’s monetized social media platforms, and agreed to participate in a

 campaign to deplatform Noshirvan for the purpose of financially ruining

 Noshirvan.




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       165.   Defendants through the Couture/Garramone Conspiracy intentionally

 and maliciously interfered with Noshirvan’s business relationships with

 “buymecoffee,” “Twitter,” “TikTok,” “Patreon” and other social media platforms.

       166. Defendants through the Couture/ Garramone Conspiracy intentionally

 and maliciously interfered with Noshirvan’s business relationships by making fake

 or false reports of misconduct to the social media platform. Camp also sent

 harassing and threatening emails to Noshirvan’s donors, which caused those

 donors to withdrawal support. As a result, Noshirvan lost lucrative business

 relationships, and future income, which caused detriment and harm.

       167. Defendants’     tortious     interference   with   Noshirvan’s   business

 relationships is unjustifiable and was done solely to financially harm Noshirvan.

 See ¶¶141-144, above.

       168. Camp in furtherance of the Couture/Garramone Conspiracy harassed,

 threatened, extorted, and coerced Noshirvan’s prior lawyer to withdraw as counsel.

 Camp abused process by harassing, threatening, extorting, and coercing

 Noshirvan’s prior lawyer to help Trainor prevail against a pro se party. Camp’s

 interference in a federal lawsuit and action towards the prior lawyer was malicious

 and done for an improper purpose. Defendants interference with Noshirvan’s

 business relationship was tortious.

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       169. As a direct and proximate result of Defendants tortious interference,

 Noshirvan has incurred damages, including but not limited to mental anguish and

 emotional distress, lost earnings, other economic loss, and will continue to suffer

 damages in the future.

       170. Defendants acted maliciously, wantonly, or with a recklessness

 suggestive of an improper motive or vindictiveness, to warrant the imposition of

 punitive damages as allowed by Florida law.

                         THIRD CAUSE OF ACTION
                      CIVIL CONSPIRACY TO DEFAME
                            (as to all Defendants)

       171. Noshirvan re-adopts and re-alleges paragraphs one (1) through one

 hundred and fifty-two (152) above, as if fully stated herein, and further alleges as

 follows:

       172. Defendants had direct knowledge of Couture/Garramone Conspiracy

 and agreed to participate in a defamatory campaign directed at Noshirvan for the

 purpose of ruining his reputation and destroying him financially.

       173. Defendants maliciously published or caused to be published,

 thousands of Flyers with Noshirvan’s face printed on them along with the false

 statement: “have you seen this predator.”




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       174. Defendants maliciously published or caused to be published, false

 statements labeling Noshirvan as a “pedophile” “child groomer”,           “stalker,”

 “sextortionist,” and “blackmailer.”

       175. Defendants maliciously published or caused to be published, false

 statements stating that Noshirvan “rapes his own child” and “caused a 14-year-old

 to commit suicide.”

       176. Defendants knew that the defamatory statements they published were

 not true but acted with reckless disregard for the truth.

       177. Defendants intentionally reported false child abuse to Child Protective

 Services on three occasions and then published statements regarding the false

 defamatory report on social media to harm Noshirvan’s reputation.

       178. Defendants maliciously published, or caused to be published, a

 billboard with Noshirvan’s face on it and the statement “doxing is violent.”

 Defamation by implication.

       179. Defendants maliciously published, or caused to be published, fake

 flyers for a “swingers party,” which contained Noshirvan and his wife’s face and

 personal contact information. The pictures below depict Defendants act:




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       180. In the second picture above, Camp questions Noshirvan’s wife’s

 virtue implicitly by falsely alleging they are “swingers”, and expressly by calling

 her a “wh**e” on social media.

       181. As a direct and proximate result of Defendants concerted effort to

 defame Noshirvan, Noshirvan suffered from mental anguish, emotional distress,

 reputational harm, and loss of income, future revenue, other damages.

       182. Defendants acted maliciously, wantonly, or with a recklessness

 suggestive of an improper motive or vindictiveness, to warrant the imposition of

 punitive damages as allowed by Florida law.


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                         FOURTH CAUSE OF ACTION

                      CIVIL CONSPIRACY TO
            INTENTIONALLY INFLICT EMOTIONAL DISTRESS
                        (as to all Defendants)

       183. Noshirvan re-adopts and re-alleges paragraphs one (1) through one

 hundred and fifty-two (152) above, as if fully stated herein, and further alleges as

 follows:

       184. Defendants had direct knowledge of Couture/Garramone Conspiracy

 and agreed to participate in an      online and in person campaign directed at

 Noshirvan for the purpose of ruining his reputation and destroying him financially.

       185. Defendants with malicious intent orchestrated an elaborate scheme to

 “tak[e] down [Noshirvan], online and teach[] him a valuable lesson in matching

 vibes.” Defendants expressly admit that the “sustained operation” “will continue

 until [Noshirvan] is a broken human skeleton” of the person he was and his Child

 “is placed in foster care….” See ¶¶141-144.

       186. Defendants had Norshirvan and his family “swatted” and sent

 Noshirvan pictures of himself and child in his yard. Defendants claimed via social

 media to have placed their cameras illegally in public places near Noshirvan’s

 hometown to watch him.




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       187. As a result of Defendants harassment, threats, and defamatory

 campaign, false reports to Child Protective Services, and swatting, Noshirvan’s

 wife and child were forced to temporarily move out of their home in fear for their

 safety.

       188. Defendants concerted actions when viewed in totality are extreme and

 outrageous and were done intentionally to cause Noshirvan emotional distress.

       189. Defendants’ conduct goes beyond all bounds of decency and ought to

 be regarded as odious and utterly intolerable in a civilized community. Defendants’

 actions are atrocious.

       190. Noshirvan and family suffered severe emotional distress caused by

 Defendants’ actions.

       191. As a direct and proximate result of Defendants concerted effort to

 intentionally cause Noshirvan severe emotional distress, Noshirvan suffered from

 mental anguish, emotional distress, reputational harm, and loss of income, future

 revenue, other damages.

       192. Defendants acted maliciously, wantonly, or with a recklessness

 suggestive of an improper motive or vindictiveness, to warrant the imposition of

 punitive damages as allowed by Florida law.




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                                FIFTH CAUSE OF ACTION

                            CIVIL CONSPIRACY TO
                   MISAPPROPRIATE NOSHIRVAN’S LIKENESS FOR
                                COMMERICAL
                              (as to all Defendants)

           193. Noshirvan re-adopts and re-alleges paragraphs one (1) through one

 hundred and fifty-two (152) above, as if fully stated herein, and further alleges as

 follows:

           194. Defendants had direct knowledge of Couture/Garramone Conspiracy

 and agreed to participate in an advertising campaign directed at Noshirvan for the

 purpose of ruining his reputation and destroying him financially.

           195. Defendants maliciously printed, published, and displayed at least two

 distinct types of flyer advertisements containing Noshirvan’s face and

 ThatDaneshGuy’s likeness without Noshirvan’s consent. Upon information and

 belief, Defendants printed, published, and caused to be displayed at least 10,000

 flyers.

           196. Defendants maliciously printed, published, and displayed a billboard

 advertisement containing Noshirvan’s face and ThatDaneshGuy’s likeness without

 Noshirvan’s consent.




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       197. Defendants maliciously printed, displayed,                 published or publicly

 disseminated commercials containing Noshirvan’s face and ThatDaneshGuy’s

 likeness without Noshirvan’s consent and in furtherance of the conspiracy.

       198. Noshirvan is entitled to recover damages for injury, reasonable

 royalty, and punitive or exemplary damages.

       199. Defendants’ publications were not bona fide news reports or of

 legitimate    public        interest.   Defendants’       publications    were   commercial

 advertisements.

       200. ThatDaneshGuy’s likeness has commercial value, which Noshirvan

 developed legitimate public interest.

       201. As a direct and proximate result of Defendants concerted effort to

 participate    in      an      advertising    campaign        utilizing   Noshirvan’s   and

 ThatDaneshGuy’s likes or image, Noshirvan suffered from mental anguish,

 emotional distress, reputational harm, and loss of income, future revenue, other

 damages.

       202. Defendants acted maliciously, wantonly, or with a recklessness

 suggestive of an improper motive or vindictiveness, to warrant the imposition of

 punitive damages as allowed by Florida law.




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                            SIXTH CAUSE OF ACTION

                                   AGENCY
                (as to Garramone, Garramone Entities, and Camp)

       203. Noshirvan re-adopts and re-alleges paragraphs one (1) through one

 hundred and fifty-two (152) above, as if fully stated herein, and further alleges as

 follows:

       204. Garramone through his actions implicitly or expressly acknowledged

 Camp’s authority to act on this behalf. Garramone admits that he “hired an online

 reputation management company.” See 2:23-cv-00340-SPC-KCD, Dkt. 83, ¶40.

 Upon information and belief, that “online reputation management company” is

 owned by Camp. Defendants utilize semantics to gaslight or otherwise change the

 narrative.

       205. Camp expressly admits being an employee of Garramone and the

 Garramone Entities. See¶¶105-117. Camp expressly or through his conduct

 accepted Garramone or Garramone Entities appointment as agent.

       206. Garramone and Garramone Entities maintain control over Camp’s.

 Camp is an employee or agent of Garramone or Garramone entities. Garramone or

 Garramone Entities maintain control over Camp because Camp is paid to provide

 his “for-hire services.”


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       207. Camp’s actions were within the scope of employment                  with

 Garramone and Garramone entities because Camp was hired to destroy Noshsirvan

 mentally, reputationally, and financially by “managing” Noshirvan’s online

 reputation online. Noshirvan is Camp’s “paid-for” target.

       208. Camp was acting within the scope of his employment with Garramone

 or Garramone Entities when he (1) falsely reported child abuse to Child Protective

 Services, (2) tortiously interfered with Noshivan’s business relationships, (3) made

 libelous statements,(4) published or caused to be published Noshirvan’s likeness

 in commercial advertisements.

       209. As a direct and proximate result of Defendants concerted effort to

 intentionally cause Noshirvan severe emotional distress, Noshirvan suffered from

 mental anguish, emotional distress, reputational harm, and loss of income, future

 revenue, other damages.

       210. Garramone, and Garramone Entities are responsible under respondeat

 superior for Camp acting maliciously, wantonly, or with a recklessness suggestive

 of an improper motive or vindictiveness, to warrant the imposition of punitive

 damages as allowed by Florida law.




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                           VII. PRAYER FOR RELIEF

       WHEREFORE, the plaintiff, Danesh Noshirvan, demands judgment against

 defendants, Couture, Garramone, Garramone Entities, Trainor, the Trainor Law

 Firm, and the ADL, for all injuries and damages suffered due to the Couture/

 Garramone Conspiracy, whether already incurred or to be incurred in the future,

 including all actual damages, consequential damages, economic damages and non-

 economic damages, in excess of 5 million dollars including but not limited to

 compensation for injury to reputation, mental anguish, emotional distress, shame,

 depression, anxiety, sleep disturbance, loss of enjoyment of life, lost income and

 earnings, lost business opportunities, humiliation, loss of online platforms, out of

 pocket expenses, other non-economic damages, costs, interest, and punitive

 damages, and for any such further relief as the Court deems appropriate.

                        VIII. CONDITIONS PRECEDENT

       All condition precedents have been satisfied, excused, or waived.

                       VIII. DEMAND FOR JURY TRIAL

       Plaintiff demands a trial by jury on all issues so triable.

       Dated this 4th day of January, 2024.



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                                               Respectfully submitted,

                                               /s/Nicholas A. Chiappetta
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                         CERTIFICATE OF SERVICE

       I hereby certify that on 4th day of January, 2024, I electronically filed the
 foregoing with the Clerk of Court by using the CM/ECF system, which will send
 notice of electronic filing to: all counsel of record.




                                               /s/ Nicholas A. Chiappetta
                                               Nicholas A. Chiappetta
                                               Designated Lead Counsel




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